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                                                 October 31, 2023


VIA ECF

The Honorable Robert M. Levy, U.S.M.J.
U.S. District Court Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:      Torres v. Maman Group New York Corp. et al
                Case No. 1:22-cv-05029-LDH-RML

Dear Honorable Magistrate Judge Levy:

       Our firm represents Defendants Maman Group New York Corp. and Maman Tribeca LLC.
Pursuant to Your Honor’s Individual Motion Practice Rules, this joint letter respectfully serves to
request an extension of time to complete fact discovery from October 31, 2023 to
December 15, 2023.

       The basis of this request is that the parties have not yet been able to conduct a virtual
mediation. By way of background, a virtual mediation was scheduled for August 9, 2023 but was
adjourned at the last minute. Defendants are prepared to move forward with mediation and are
awaiting Plaintiff’s position on resolution and availability. This is the third request.

        In light of the foregoing, the parties require additional time to complete discovery, in the
event that the virtual mediation is unsuccessful.

       Thank you for Your Honor’s time and attention to this request.

                                                          Respectfully submitted,

                                                          /s/ Timothy Barbetta
                                                          Timothy Barbetta
                                                          Counsel for Defendants




             Alabama California Colorado Florida     Georgia Massachusetts Minnesota Missouri
                New Jersey New York North Carolina   South Carolina Tennessee Texas Virginia
